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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL BURNHAM, FERNANDO
CASTILLO, NEVA CRAWFORD,
RICKY CRAWFORD, TED DAY, JOHN
GUGLER, CHARLES HOWLETT,
EDUARDO JIMENEZ, BILL
MCMAHON, JODY PAULSON,
ROBERT ROJAS, TODD SI-IOOK,
TONY SKIRROW, DANTE STEWARD,
SALVADOR BUCIO SUAREZ AND
DANIEL WARE, and all other
“aggrieved” employees,

CASE NO.; SACV124)688 AG(ANX)

  
 
    
  

GRANTING PLAINTIFFS’
MOTION FOR FINAL
APPROVAL OF CLASS ACTION
SETTLEMENT AND AWARDING
ATTORNEYS’ FEES AND
ENI-IANCEMENT AWARDS

Plaintiffs,

VS.
HEARING SCHEDULE

DATE: February I, 2016
TlME: 10:00 a.m.

CTRM.: 10D

JUDGE: Andrew J. Guilford

RUAN LOGISTICS CORP., an Iowa
corporation, and DOES 1-100, inclusive,

Defendants.

 

 

 

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Having previously granted preliminary approval (Dl<t. #325) of the parties’
Class Action Settlement and Stipulation Agreement (the “Settlernent Agreernent” ,
this matter now comes before the Court for final approval of the proposed
settlement set forth in the Settlement Agreernent. For purposes of this Order, all
terms used herein shall have the same meaning as defined in the Settleni_ent
Agreement. Having reviewed and considered the papers, evidence and arguments
in support of and in opposition thereto, the Court HEREBY FINDS AND ORDERS
AS FOLLOWS:

1. This Court has jurisdiction over the subject matter of this litigation and

over all Parties to this litigation, including the Plaintift`s and Class Mernbers.

2. Distribution of the Notice of Ptoposed Settlenient and Fairness
Hearing as set forth in the Settlenient Agreernent and the other matters set forth
therein have been completed in conformity with the Court’s Order granting
preliminary approval of the proposed settlement, including individual notice to all
Class Members who could be identified through reasonable effort, and was the best
notice practicable under the circumstances This provided due and adequate notice
of the proceedings and of the matters set forth therein, including the proposed
settlement set forth in the Settlement Agreernent, to all persons entitled to such
notice, and the notice fully satisfied the requirements of due process Zero (0)
Class Members objected to the proposed settlement and zero (0) Class Members
opted out of the proposed settlement

3. Final approval of the proposed settlement set forth in the Settlernent
Agreernent shall be and hereby is GRANTED. The Court finds that the proposed

settlement is, in all_respe'cts, fair, adequate and reasonable and directs the Parties to

 

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event be construed as, or deemed to be evidence of, an admission or concession
with regard to the denials or defenses by Defendant or any of the other Released
Parties and shall not be offered in evidence in any action or proceeding against
Defendant or any of the Released Parties in any court, administrative agency or
other tribunal for any purpose whatsoever other than to enforce the provisions of
this Order, the Settlernent Agreement as approved in this Order, or any related
agreement or release. Notwithstanding these restrictions, any of the Released
Parties may file in this action or in any other proceeding this Order, the Settlement
Agreement, or any other papers and records on Hle in this action as evidence of the
settlement approved by this Order to support a defense of res judicata, collateral
estoppel, release, or other theory of claim or issue preclusion or similar defense as

to the Released Claims.

6. The Court APPROVES the proposed allocation of the Gross
Settlement Fund as set forth in the Settlement Agreement.
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'7. The Court APPROVES Class Counsel’s requests for S-l:l-GG;GQQ/in

attorneys’ fees and 318,411.25 in costs to be paid from the Gross Settlement Fund

provided for in the Settlement Agreement.

8. Class Counsel shall not be entitled to any other award of attorneys’
fees or costs in any way connected with this action. Any separate appeal from this
Order as to the Class Counsel Attorneys’ Fees and Costs and/or the Class
Representative Enhancement shall not operate to terminate or cancel the Settlement

Agreernent or otherwise affect the finality of this Order.

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9. The Court APPROVES the enhancement payment of $5,000 each to
the Class Representatives (for a total of 380,000) from the Gross Settlement Fund.

10. The Court APPROVES the payment of $200,000 to the Labor
Workforce Development Agency from the Gross Settlement Fund.

11. The Court APPROVES the payment of $10,000 to the Claims

Administration from the Gross Settlement Fund.

12. Without affecting the finality of this Order in any way, this Court
hereby retains jurisdiction over the interpretation, implementation and enforcement
of the Settlement Agreement and all orders and judgments entered in connection

therewith F or all other purposes, this case is DISMISSED WITH PREJUDICE.

IT IS SO ORDERED, AD.TUDGED AND DECREED.

  

DATED: §-'ib 73 2in b / 1. " , '
/ d" Honora;i§le/An/drew J. Guilford
Uniped_ States District Court Judge

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